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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.


 IT IS SO ORDERED.



 Dated: October 9, 2013



 ________________________________________________________________




 4812-7647-4646

                              UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 In re:                                            :           Case No. 04-60904
                                                   :
            Columbus Microfilm, Inc.               :           Chapter 7
                                                   :           Judge C. Kathryn Preston
                   Debtor.                         :

          ORDER AND JUDGMENT DENYING MOTION TO REOPEN CLOSED CASE
                                          [Doc. No. 331]
           This matter came before the Court pursuant to Notice on October 1, 2013 for hearing on

 the Ex-Parte Application to Re-Open Closed Case filed by Angela Granata [Doc. #331] and the

 Objection filed by Larry J. McClatchey, the former Trustee [Doc. #333]. Ms. Granata and Mr.

 McClatchey appeared at the hearing. Also present was A.C. Strip, Esq., Strip Hoppers Leithhart

 McGrath & Terlecky Co. LPA, appearing as counsel on behalf of the former state court

 Receiver, Martin Management. Based on the presentations made by Ms. Granata and counsel,

 and upon the Court’s review of the record in this case, the Court finds that Movant has failed to
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 demonstrate cause for reopening the chapter 7 bankruptcy proceeding. The Court stated its

 findings and conclusions on the record of the hearing, which findings and conclusions are

 incorporated herein by reference. It is therefore

        ORDERED, that the Ex-Parte Application to Reopen Closed Case should be and hereby

 is DENIED.

        SO ORDERED.



 Copies to Default List and
 A.C. Stripp, Esq., Strip, Hoppers, Leithart, McGrath & Terlecky Co., LPA, 575 South Third
     Street, Columbus, Ohio 43215-5759


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